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                   UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF GEORGIA
                          STATESBORO DIVISION



UNITED STATES OF AMERICA              )
                                      )
V.                                    )    Case No. CR612-018
                                      )
ANTONIO MARQUETTE MANGRAM,)
                                      )
     Defendant.                       )

                                  ORDER
     After a careful de novo review of the record in this case, the Court

concurs with the Magistrate Judge's Report and Recommendation, to

which no objections have been filed. Accordingly, the Report and

Recommendation of the Magistrate Judge is adopted as the opinion of the

Court.

     SO ORDERED this          3 day/f -jS ~,2O15.  `




                                             DBEY WOODGHIEF JUDGE
                                             STATES DISTRICT COURT
                                             RN DISTRICT OF GEORGIA
